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                  EXHIBIT 6
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                                                                                             Pagel


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
                                                     -   -   -   -   -   -   -   -   -   X

      VIRGINIA L. GIUFFRE ,


                            Plaintiff ,
                                                                     Case No . :
              - against -                                            15 - cv- 0 7433-RWS


      GHISLAINE MAXWELL,


                            Defendants .


      -   -   -    -    -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   -   X



                                            **CONFIDENTIAL**

                            Videotaped deposition of GHISLAINE
                  MAXWELL, taken pursuant to subpoena, was
                  held at the law offices of BOIES
                  SCHILLER          &   FLEXNER, 575 Lexington
                  Avenue, New York, New York, commencing
                  April 22, 2016, 9:04 a.m., on the above
                  date , before Leslie Fagin, a Court
                  Reporter and Notary Public in the State
                  of New York.



                            MAGNA LEGAL SERVICES
                   12 00 Avenue of the Americas
                       New York, New York 10026




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                                                                Page 2
 1
 2    APPEARANCES:
 3
      BOIES SCHILLER & FLEXNER , LLP
 4    Attorneys for Plaintiff
                401 East Las Olas Boulevard
 5              Fort Lauderdatle , Florida, 333 01
      BY:       SIGRID MCCAWLEY, ESQUIRE
 6              MEREDITH SCHULTZ , ESQUIRE
                EMMA ROSEN, PARALEGAL
 7
 8
      FARMER JAFFE WEISSING EDWARDS FISTOS &
 9    LEHRMAN, P.L.
                Attorneys for Plaintiff
10              425 N. Andrews Avenue
                Fort Lauderdale, Florida 333 01
11    BY:       BRAD EDWARDS, ESQUIRE
12
13    PAUL G. CASSELL, ESQUIRE
      Attorneys for Plaintiff
14              383 South University Street
                Salt Lake City, Utah 84112
15
16
      HADDON MORGAN FOREMAN
17    Attorneys for Defendant
                150 East 10th Avenu
18              Denver, Colorado 80203
      BY:       JEFFREYS. PAGLIUCA, ESQUIRE
19              LAURA A. MENNINGER , ESQUIRE
20
21    Also Present:
22        James Christe , videographer
23
24
25




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                                                               Page 52
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 2    for sexual acts.
 3            Q.      I 'm asking if they performed sexual
 4    acts?
 5                    MR. PAGLIUCA:   Object to the form

 6            and foundation.

 7            Q.      Did any of the massage therapists
 8    who were at the home perform sexual acts for

 9    Jeffrey Epstein?
10            A.      I don ' t know what you mean by

11    sexual acts.
12            Q.      Did any of the massage therapists
13    who were working at the home perform sexual
14    acts, including touching the breasts,
15    touching the vaginal area , being touched
16    while Jeffrey is masturbating, having
17    intercourse, any of those things?

18                    MR. PAGLIUCA:   Objection.   Form and

19            foundation.
20                    To the extent any of this is asking

21            for to your knowledge any consensual sex

22            act that may or may not have involved

23            you, I'm instructing you not to answer

24            the question.
25            Q.      I'm not asking about consensual sex




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 2    acts.        I ' m asking whether any of the massage
 3    therapists performed sexual acts for Mr.
 4    Epstein, as I have just described?

 5            A.      I have never seen anybody have
 6    sexual intercourse with with Jeffrey, ever.

 7            Q.      I 'm not asking about sexual

 8    intercourse.        I 'm asking about any sexual
 9    act , touching of the breast -- did you ever
10    see -- can you read back the question?
11                    (Record read. )

12            A.      I'm not addressing any questions

13    about consensual adult sex.          If you want to

14    talk about what the subject matter, which is
15    defamation and lying, Virginia Roberts , that
16    you and Virginia Roberts are participating in
17    perpetrating her lies, I ' m happy to address

18    those.        I never saw any inappropriate
19    underage activities with Jeffrey ever .

20            Q.      I'm not asking about underage.     I 'm

21    asking about whether any of the masseuses
22    that were at the home perform sexual acts for

23    Jeffrey Epstein?
24            A.      I have just answered the question.

25            Q.      No, you haven't.




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 2          A.      I have.
 3          Q.     No, you haven't.

 4          A.     Yes , I have.

 5          Q.     You are refusing to answer the

 6    question.

 7          A.     Let ' s move on.

 8          Q.      I 'm in charge of the deposition.         I

 9    say when we move on and when we don't.
10                 You are here to respond to my

11    questions.      If you are refusing to answer the

12    court will bring you back for another
13    deposition to answer these questions.
14                 Do you understand that?

15                 MR. PAGLIUCA:      You don ' t need to

16          threaten the witness.

17                 MS. McCAWLEY:      I ' m not threatening

18          her.     I' m making sure the record is

19          clear.

20                 MR. PAGLIUCA:      Certainly can you

21          apply to have someone come back and the

22          court may or may not have her come back

23          again.
24                 Again , she is not answering

25          questions that relate to adult consent




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 2            sex acts.       Period.   And that ' s the

 3            instruction and we can take it up with

 4            the court.

 5            Q.     Ms. Maxwell , are you aware of any
 6    sexual acts with masseuses and Jeffrey
 7    Epstein that were nonconsensual?

 8            A.     No .

 9            Q.     How do you know that?

10            A.     All the time that I have been in

11    the house I have never seen , heard, nor
12    witnessed , nor have reported to me that any
13    activities took place, that people were in
14    distress, either reported to me by the staff

15    or anyone else.          I base my answer based on

16    that.

17            Q.     Are you familiar with a person by

18    the name of Annie Farmer?

19            A.      I am.

20            Q.     Has Annie Farmer given a statement
21    to police about you performing sexual acts on

22    her?
23            A.      I have not heard that .

24            Q.     Has Annie Farmer given a statement

25    to police about Jeffrey Epstein performing




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 2           Q.     Did you have sex with her?
 3                  MR. PAGLIUCA:    This is the same

 4           instruction about consensual or

 5           nonconsensual.

 6           Q.     Was Emmy under the age of 18 when

 7    you hired her?

 8           A.     No.   I didn ' t hire her , as I said ,

 9    Jeffrey did.
10           Q.      Did Emmy ever have sex with

11    Jeffrey?
12                  MR. PAGLIUCA:     Objection to the

13           form and foundation.

14           A.      How would I know what somebody else

15    did.

16           Q.      You weren 1 t involved in the sex

17    between Jeffrey, Emmy and yourself?

18           A.     We already --

19           Q.      Were you involved with sex between
20    Jeffrey , Emmy and yourself?

21                  MR. PAGLIUCA:     Everyone is talking

22           over each other.       You heard the

23           question.

24                  Again , you you know what the

25           instruction is.      If there is any




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 2          consensual issue involved, I instruct

 3          you not to answer .

 4          A.     Moving on.

 5          Q.     So you are refusing to answer that

 6    question?

 7          A.      I ' ve been instructed by my lawyer.

 8          Q.     Did you ever have sex with Jeffrey ,
 9    Emmy, Virginia and yourself when Virginia was

10    underage?
11          A.     Absolutely not.

12                 MR. PAGLIUCA:      We ' ve been going for

13          about an hour.       I would like to take a

14          five-minute break , please.

15                 MS. MCCAWLEY:      I'm almost done.

16                  MR . PAGLIUCA:    You are not going to

17          allow a break.

18                 MS. MCCAWLEY:      As soon as I get

19          through my line of questioning , which is

20          perfectly appropriate.

21          Q.      Did Emmy Taylor travel with you and

22    Jeffrey to Europe?

23          A.      I'm sure she did .

24          Q.     What is she doing today?

25          A.      I have no idea.




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  2         Q.     Did you train Virginia on how to
  3   recruit other girls to perform sexual
  4   massages?

  5                MR. PAGLIUCA:     Objection to the
  6         form and foundation.
  7         A.     No.    And it ' s absurd and her entire
  8   story is one giant tissue of lies and
  9   furthermore, she herself has              if she says
10    that , you have to ask her about what she did .

11          Q.     Does Jeffrey like to have his

12    nipples pinched during sexual encounters?
13                 MR. PAGLIUCA:     Objection to form
14          and foundation.
15          A.     I ' m not referring to any advice on
16    my counsel.        I'm not talking about any adult
17    sexual things when I was with him.
18          Q.     When Jeffrey would have a massage,
19    would he request that the masseuse pinch his
20    nipples while he was having a massage?
21          A.     I 'm not talking about anything with
22    consensual adult situation.
23          Q.     What about with underage
24          A.     I am not aware of anything.
25          Q.     You are not aware of Jeffrey




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 2            Q.      In your responsibilities in working

 3    for Jeffrey, would you book massages for him
 4    on any given day so that he would have a
 5    massage scheduled?        Would you take a call for
 6    example and book a massage for him?

 7                   MR. PAGLIUCA:      Objection to the

 8            form and foundation .

 9            Q.      You can answer.

10            A.      Typically, that was not my

11    responsibility.        He would either book the

12    massage himself or one of his other
13    assistants would do that.

14            Q.      From time to time you had to do

15    that?
16                    MR. PAGLIUCA:     Objection to the

17            form and foundation .

18            A.      Like I said, typically it was

19    somebody else 1 s responsibility.

20            Q.      If you were unable to book a girl
21    for a massage on a given day , would that mean
22    that you were responsible for giving him a

23    sexual massage?
24                   MR. PAGLIUCA:      Ob j ection to the

25            form and foundation and I instruct you




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  2           not to answer any questions about any of
  3           your consensual adult sexual activity.
  4           Q.     So you are not going to answer that
  5    question?
  6           A.     You just heard my counsel.
  7           Q.     Have you ever said to anybody that
  8    recruiting other girls to perform sexual
  9   massages for Jeffrey Epstein takes the
 10   pressure off you?
 11                  MR . PAGLIUCA:   Object to the form
12            and foundation.
13            A.     Repeat the question and break it
14    out .
15            Q.     Have you ever said to anybody that
16    you recruit girls --

17            A.     Stop right there.    I never
18    recruited girls, let's stop there.            Now
19    breakdown the question.
20            Q.     Have you ever said to anybody --
21            A.     By girls , we are talking about
22    underage people -- you said girls, are you
23    talking about underage -- we are not talking
24    about consensual acts - - this is a defamation
25    suit.




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  2   the flights?
  3         A.      I can't recollect having a meal
  4   with them , but just so we are clear, the
  5   allegations that Clinton had a meal on
  6   Jeffrey ' s island is 100 percent false.

  7         Q.     But he may have had a meal on

  8   Jeffrey ' s plane?
  9         A.      I 'm sure he had a meal on Jeffrey ' s
10    plane.
11          Q.     You do know how many times he flew

12    on Jeffrey's plane?
13          A.      I don't.

14          Q.     Do you know who Doug Band is?

15          A.      I do.

16          Q.     How do you know him?
17          A.     He used to work or still works for
18    Bill Clinton.
19          Q.     Did you ever have a relationship
20    with him?
21          A.     We are talking about adult
22    consensual relationships , it ' s off the

23    record .
24          Q.      I 'm not asking what you did with
25    him , I 'm asking if you ever had a




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  2   relationship with him?
  3                  MR. PAGLIUCA:     If you understand
  4           the term relationship , certainly you can

  5           answer that.

  6           A.     Define relationship .
 7            Q.     Somebody that you would have spent
  8   time together, either seeing them in a
 9    romantic relationship or --
10            A.     You need to be , what do you mean by
11    romantic .      I was friends with Doug but you
12    are suggesting something more so I want to be

13    clear what you are actually asking me.

14            Q.     You defined it.     You said you were

15    friends wi th him .     If that ' s what you were
16    that ' s all I need to know.
17                   While you were on the trip with
18    President Clinton, do you recall where you
19    stayed at these locations, in other words,
20    would you leave the jet and stay overnight at

21    a hotel , do you have a recollection of this
22    trip?
23            A.     I recollect the trip but if y ou' re
24    asking me where we stayed , you can see it ' s a
25    very fast paced trip.          It was very tiring and




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  2           form and foundation.

  3           A.      I don't know why the name is -- I 'm
  4   sorry - - I can't      - - I have no idea.   I
  5   recognize the name but that's it.
  6           Q.     Was Johanna Sjoberg a masseuse?
  7                  MR. PAGLIUCA:    Objection to the
  8           form and foundation .
  9           A.     What are you asking me , I 'm sorr y?

10            Q.     When Johanna Sjoberg worked for

11    Jeffrey Epstein, did she perform massages?

12            A.     I've testified that when Johanna
13    came originally, she came to answer
14    telephones.        I believe at some point she
15    became a masseuse.        I don ' t recollect when
16    and I personally had massages from Johanna .
17            Q.     What did Johanna do for Jeffrey

18    Epstein , did she perform massages, anything

19    else?
20                   MR . PAGLIUCA:   Objection to the
21            form and foundation.
22            A.     When she came she answered phones
23    and at some point, I believe , I don't have
24    any firm recollection, but I believe she went
25    to school and became a masseuse and I had




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  2   massages from her.

  3         Q.     Did you ever have any sexual
 4    interaction with her?
  5                MR. PAGLIUCA:    Object to the form

  6         and foundation and I 1 m going to instruct

 7          you if we 1 re talking about any

  8         consensual adult contact, you are not

  9         allowed to answer the question.

10          Q.      Did you have any sexual contact

11    with her in the presence of Jeffrey Epstein?

12                  MR. PAGLIUCA:   Same instruction .

13          Q.      Did you have any sexual contact
14    with her in the presence of anybody other
15    than Jeffrey Epstein?
16                  MR. PAGLIUCA:   Same instruction.

17          Q.      How many massages did you receive

18    from Johanna?

19          A.      I really don 1 t recall but a fair

20    amount.
21          Q.      Did the massages involve sex?

22                 MR. PAGLIUCA:    I 1 m going to

23          instruct you not to answer.

24          Q.      Have you ever engaged in sex with

25    any female?




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  2                  MR. PAGLIUCA:    I'm going to
  3           instruct you not to answer.
  4                  MS. MCCAWLEY:    I want the record to

  5           reflect that Ms. Maxwell's attorney is

  6           directing her not to answer this series

  7           of questions.

  8                  MR. PAGLIUCA:    It definitely does.

  9           Q.     Were you responsible for
10    introducing Anuska to Jeffrey Epstein?

11                   MR. PAGLIUCA:    Objection to the

12            form and foundation.

13            A.      I already testified that I don ' t

14    really recall Anuska.

15            Q.     Were you responsible for

16     introducing Johanna to Jeffrey Epstein?

17                   MR. PAGLIUCA:    Objection to the

18            form and foundation.

19            A.     Again, I don't like the
20    characterization of introduction.          Johanna
21    came to answer telephones.

22            Q.     When did you -- were you the person

23    who brought or introduced or met Johanna for

24    purposes of bringing her to Jeffrey Epstein ' s

25    home?




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